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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 17-21728-CIV-O'SULLIVAN
                                        [CONSENT]

   ALEXANDER NOLASCO,
        Plaintiff,

   v.

   AKS CARTAGE CORP., a
   Florida for profit corporation,
   JEMARY JORGE, an individual,
   BARBARA VERONA, an individual,
   DLI TRANSPORT CORP., a Florida
   for profit corporation, ALEJANDRO
   ARRIETA, an individual, DEL TA
   LINE INTERNATIONAL, INC.,
   a Florida for profit corporation and
   ANA M. VEGA, an individual,
          Defendants.
   - - - - - - - - - - - - -I
                                             ORDER

          THIS MATTER is before the Court on the plaintiff's Memorandum of Law

   Regarding [the] Burden of Proof on the Technical Corrections Act (DE# 102, 6/7/18)

   (hereinafter "Plaintiff's Memorandum") and the Defendants' Memorandum of Law

   Regarding the Burden of Proof for the Technical Corrections Act (DE# 105, 6/11/18)

   (hereinafter "Defendants' Memorandum").

                                           ANALYSIS

          At issue before the Court is which party bears the burden of proof on the

   applicability or inapplicability of the Technical Corrections Act (hereinafter "TCA") ..

          The plaintiff argues that the defendants have the burden of proof on all issues

   related to the MCA exemption including the TCA. See Plaintiff's Memorandum at 1. The

   plaintiff further argues that "[t]he TCA amends [T]itle 49 - regulating the Department of
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   Transportation, and so the TCA naturally forms part of the proof on Defendants' MCA

   exemption claim."~ at 1-2. 1 The plaintiff states that "[t]he employer bears the burden

   of proving all aspects of the MCA exemption, including the narrowed scope of the TCA,

   and any other conclusion is at odds with the purpose of the FLSA." ~at 4. The plaintiff

   cites to several district court cases in this Circuit which have placed to burden of proof

   on the defendant at the summary judgment         stage.~    at 4-5.The plaintiff further argues

   that "[i]f Congress intended the Plaintiff to have the burden of proof on the TCA - they

   would have amended [T]itle 29 to include elements of the TCA in an employee's prima

   facie elements."~ at 6. Additionally, the plaintiff argues that public policy favors

   placing the burden of proof on the defendants: "[b]y allocating the burden to the

   Defendants, who control the relevant information, the Court avoids the unjust situation

   where Defendants hide the ball and occult relevant evidence from the          Plaintiff."~   at 7.

          The defendants counter that the TCA is not an exception to the MCA exemption.

   See Defendants' Memorandum at 4. Rather, the TCA amends the definition of a

   "covered employee" under 29 U.S.C. § 207 and therefore it is the plaintiff's burden to

   prove he is a "covered employee" under section 207.        ~at   2-3. The defendants further

   argue that the Court should follow the Fifth Circuit's decision in Carley v. Crest Pumping


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             Alternatively, the plaintiff argues that "[e]ven if this Court finds that the Plaintiff
   shares some portions of the burden of proof, that portion may only attach once the
   Defendants establish that the MCA applies on a week by week basis." Plaintiff's
   Memorandum at 2. The Court previqusly issued an Order (DE# 94, 5/31/18) denying
   the plaintiff's motion for reconsideration wherein the plaintiff, for the first time, argued
   that the "Defendants must offer proof that Plaintiff engaged in activities affecting the
   safety of motor vehicles on a week-by-week basis." Motion for Reconsideration of May
   22, 2018 Order (DE# 93 at 2, 5/30/18). The plaintiff did not timely raise this argument in
   response to the summary judgment motion and may not raise it now disguised as an
   argument on which party bears the burden of proof at trial.

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   Techs .. LLC., which held that" the burden of proof is more appropriately placed on

   Plaintiffs ... as compliance with the [TCA] is of a piece with compliance with § 207(a),

   rather than a way to exempt oneself from § 207(a) as per an exemption enumerated

   under 29 U.S.C. § 113."2 890 F.3d 575, 580 (5th Cir. 2018).

          The defendants also cite the Supreme Court's recent pronouncement that

   exemptions under the FLSA are to be given a "fair reading" rather than a narrow

   construction. Encino Motorcars. LLC v. Navarro, 138 S. Ct. 1134, 1142 (2018). The

   defendants state that "with the change in the exemption standard, the Fifth Circuit [in

   Carley] also recognized that _the clear text of the TCA should be given a fair reading,

   rather than be applied narrowly by disregarding its actual language so that it[s]

   application would be construed against employers." Defendants' Memorandum at 5.

   The defendants also argue that the plaintiffs' reliance on summary judgment cases is

   misplaced because in those cases, "the employers, as the movants for summary
                           \




   judgment[.] [were] not granted summary judgment because they were unable to meet

   [the] standard of showing that there was no dispute over material facts. These.

   decisions did not analyze the burden of proof on the TCA issue, as the Court in Carley

   did." kl

          The plaintiff distinguishes Carley on the grounds that it "is [a] non-final decision

   that is not binding on this Court, and whose facts differ greatly from the facts at issue in

   this case." Plaintiff's Memorandum at 6. The plaintiff further argues that the Fifth Circuit

   in Carley "misinterprets the history of the TCA" when it states that "'the [TCA] was


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            The Fifth Circuit's reference to 29 U.S.C. § 113 appears to be a typographical
   error since exemptions under the FLSA are found in section 213.

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   codified under 29 U.S.C. § 207, which sets out the FLSA standards that Plaintiffs bear

   the burden of proving [a] lack of compliance by an employer."' JJ;L, (quoting Carley, 890

   F.3d at 580). The defendants respond that:

          To assume that the Fifth Circuit, in Carley, did not know that the TCA is
          part of Chapter 49 of the United States Code, is to assume an impractical
          level of judicial incompetence that should have indicated to Plaintiff that
          he misunderstood Carley. The point of Carley is that the TCA specifically
          amends.29 U.S.C. § 207's definition of a "covered employee", hence why
          the Fifth Circuit correctly posits that the TCA was codified under section
          §207. Plaintiff mistakes the term "codified" as meaning numbered in the
          same title, and, hence makes the misguided argument that if the TCA
          were meant to amended §207, Congress would have amended §207. This
          is an erroneous argument because the plain text of the TCA shows
          Congress did amend §207 via the TCA.

   Defendants' Memorandum at 3.

          In Carley, "[t]he parties ... stipulated to the requisite facts establishing the MCA

   exemption." 890 F.3d at 577. At issue, was whether the plaintiffs were otherwise

   covered employees under the TCA. JJ;L, At trial, the defendant presented evidence that

   the plaintiffs used only Ford F-350 trucks and that those trucks had a gross vehicle

   weight rating ("GVWR") of 11,500 pounds. JJ;L, The GVWR of the vehicles was not

   refuted at trial. JJ;L, The jury instructions placed the burden of proof on the defendant "to

   prove that the [TCA] did not apply to P,laintiffs." JJ;L, The jury returned a verdict for the

   plaintiffs and the Court denied the defendant's motion for a judgment as a matter of

   law. JJ;L, On appeal, the Fifth Circuit ruled that the burden of proving the weight of the

   vehicles under the TCA fell on the plaintiffs. Importantly, the Fifth Circuit determined

   that the TCA was not an exemption, rather it defined who was a covered employee

   under the statute. JJ;L, at 579 (stating that "compliance with the [TCA] is of a piece with

   compliance with§ 207(a), rather than a way to exempt oneself from§ 207(a) as per an

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   exemption enumerated under 29 U.S.C. § 113.").

          The text of the TCA does not state which party bears the burden of proof. The

   Court finds the reasoning in Carley persuasive. The TCA is not an exemption, rather it

   defines a group of "covered employees" under the FLSA who would otherwise be

   excluded from the FLSA's provisions under the MCA exemption. The Court takes the

   language in Carley, that the TCA was "codified" within section 207 to mean the TCA

   "amended" section 207 by providing certain employees with coverage under the FLSA.

   In other words, the TCA "explicitly amended the FLSA to provide that drivers who met

   the definition of a covered employee would be entitled to overtime compensation

   regardless of whether or not the Transportation [Secretary] ha[s] jurisdiction to regulate

   the hours and conditions of those drivers." Hernandez v. Alpine Logistics. LLC, No.

   08-CV-6254T, 2011 WL 3800031, at *4 (W.D.N.Y. Aug. 29, 2011) (citing P.L. 110-244

   § 306(A)). It is therefore a coverage provision.

          Because "the Plaintiff bears the burden of demonstrating coverage under the

   FLSA," Hernandez v. Nanju Corp., No. 07-22786-CIV-MORENO, 2008 WL 1925263, at

   *2 (S.D. Fla. Apr. 30, 2008), the Court will also place   th~   burden of proving the

   applicability of coverage under the TCA on the plaintiff.

          Although Bedoya v. Aventura Limousine & Transp. Serv .. Inc., No.

   11-24432-CIV, 2012 WL 3962935, at *3 (S.D. Fla. Sept. 11, 2012) and other cases in

   this district placed the burden of establishing that the TCA did not apply on the

   defendants, some of those cases rested on the tenet that FLSA exemptions were

   narrowly construed.   See,~.    Castillo v. Lara's Trucking Inc., No. 16-20280-CIV, 2017

   WL 945188, at *3 (S.D. Fla. Feb. 10, 2017) (stating "[b]ecause FLSA exemptions are

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   construed narrowly, the employer bears the burden of establishing entitlement to an

   exemption .... [i]n order to decide whether Defendants are entitled to summary

   judgment, we must determine whether: (1) the employer is a motor carrier subject to the

   Secretary of Transportation's jurisdiction; and (2) if so, whether coverage under the

   FLSA nevertheless extends to Plaintiff as a result of the Technical Corrections Act of

   2008."). It is unclear whether in those cases, the burden of proving the inapplicability of

   the TCA would still be placed on the defendant given the Supreme Court's recent

   pronouncement that FLSA exemptions are to be given a "fair reading," rather than

   construed narrowly. Encino, 138 S. Ct. at 1142. Additionally, those cases were decided

   at the summary judgment stage where a motion could be denied either because the

   defendant failed to meet its initial burden of proof or because genuine issue of material

   fact precluded summary judgment for the movant.

          In the instant case, the defendants have "admitted the Transit Van weighed less

   than 10,000 pound." Defendant's Memorandum at 10. Thus, the remaining issue at trial

   with respect to the applicability of the TCA, is whether the plaintiff drove a vehicle

   weighing 10,000 pounds or less for more than a de minimums amount of time. See

   Bedoya v. Aventura Limousine & Transp. Service. Inc., 2012 WL 3962935, *4 (S.D. Fla.

   Sept. 11, 2012) (stating that an individual is entitled to overtime pay "if more than a de

   minim is portion of the Plaintiff's work" is done with vehicles weighing 10,000 pounds or

   less). The Court will place that burden on the plaintiff.

                                          CONCLUSION

          Based on the foregoing, it is

          ORDERED AND ADJUDGED that the plaintiff bears the burden of proof on

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                 whether he drove a vehicle weighing 10,000 pounds or less for more than a de

                 minimums amount of time.


                 2018.
                         DONE AND ORDERED in Chambers at Miami, Florida, this    Ji     d.ay of June,




                                                                          MAGISTRATE JUDGE
                 Copies provided:
                 All counsel of record




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